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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 PRINCETON DIGITAL IMAGE CORPORATION                            Case No.
                   v.

 OFFICE DEPOT INC.                                              1-13-cv-239-LPS
 J.C. PENNEY COMPANY, INC.                                      1-13-cv-287-LPS
 QVCINC                                                         1-13-cv-288-LPS
 SEARS HOLDINGS COMPANY                                         1-13-cv-289-LPS
 Ll~1ITED      BRANDS, INC.,                                    1-13-cv-326-LPS
 GAP Inc.                                                       1-13-cv-330-LPS
 WILLIAMS-SONOMA INC.                                           1-13-cv-331-LPS
 COSTCO WHOLESALE CORP.                                         1-13-cv-404-LPS
 NORDSTROM.COM LLC ET AL.                                       1-13-c/v-408-LPS


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                                                            y
                                                           n1 FINAL JUDGMENT


          Adobe having advised the Court that judgment is in order from which Adobe can take
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appeal,

          Adobe's request for entry of final judgment is GRANTED, without prejudice to

Adobe's ability to appeal. Accordingly, IT IS HEREBY ORDERED, ADJUDGED,

AND DECREED THAT:

          1. Final judgment is entered for PDIC and against Adobe.

          2. Adobe and PDIC expressly reserve the right to appeal from this jud ment, including

any interlocutory orders of the Court.


                                              ChiefUlliid States District Judge




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